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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 THOR ZURBRIGGEN et al., on behalf of
 themselves and on behalf of all others
 similarly situated,

                     Plaintiffs,

         v.                                             Case No. 1:17-cv-05648

 TWIN HILL ACQUISITION COMPANY,                         Honorable John J. Tharp, Jr.
 INC., a California corporation, AMERICAN
 AIRLINES GROUP INC., a Delaware                        Magistrate Judge Jeffrey Cole
 corporation, AMERICAN AIRLINES, INC.,
 a Delaware corporation, PSA AIRLINES,
 INC., a Pennsylvania corporation, ENVOY
 AIR INC., a Delaware corporation,

                     Defendants.


 DEFENDANT AMERICAN AIRLINES, INC.’S MOTION FOR RECONSIDERATION
  AS TO CLAIMS OF PLAINTIFF BRET ROSENGREN UNDER OKLAHOMA LAW


        Defendant American Airlines, Inc. (“American”) respectfully moves this Court, pursuant

to Federal Rule of Civil Procedure 54(b), for an order revising its April 22 dismissal order (ECF

No. 185) to hold that Plaintiff Bret Rosengren’s claims may not proceed because Oklahoma law

requires that a plaintiff plead specific intent to injure in order for his claims to fall outside of

workers’ compensation exclusivity, and Plaintiff Rosengren has failed to do so. In support of

this motion, American states as follows:

        1.      On April 22, 2020, this Court issued an order granting in part and denying in part

American’s motion to dismiss the Second Amended complaint and various appendices adding

additional plaintiffs. The order holds that Oklahoma Plaintiff Rosengren’s claims may proceed
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because Oklahoma applies the substantial certainty standard to determine whether an intentional

tort falls outside of workers’ compensation exclusivity.

       2.      Oklahoma law, however, specifically rejects the substantial certainty standard.

See Okla. Stat. Ann. tit. 85A, § 5(B)(2) (“Allegations or proof that the employer had knowledge

that the injury was substantially certain to result from the employer's conduct shall not constitute

an intentional tort.”) Instead, Oklahoma employs the specific intent to injure standard, as

American explained in its Supplemental Memorandum to Dismiss the Claims of Plaintiffs in

Appendices N-R (ECF No. 151). See Okla. Stat. Ann. tit. 85A, § 5(B)(2) (“An intentional tort

shall exist only when the employee is injured as a result of willful, deliberate, specific intent of

the employer to cause such injury.”); Bartra v. Marriott Int’l, Inc., No. CIV-17-958-M, 2018 WL

445124, at *2 (W.D. Okla. Jan. 16, 2018) (plaintiff must show that his injury “was the result of a

willful, deliberate and specific intent” of his employer to cause the injury).

       3.      Application of the correct specific intent to injure standard to Oklahoma Plaintiff

Rosengren would result in his claims being barred by workers’ compensation exclusivity.

Plaintiff Rosengren (like other plaintiffs whose claims were dismissed) has not stated any factual

allegations suggesting American acted with specific intent to injure him. (See ECF No. 185 at

27) (“There are no allegations in the SAC that American had specific intent to injure their

employees, much less the named plaintiffs specifically, or that harm from the Twin Hill uniforms

was American’s goal rather than an unintended consequence.”).

       4.      When an order contains a “manifest error of law,” this Court has discretion to

revise the order pursuant to Federal Rule of Civil Procedure 54(b). See Wiegel v. Stork Craft

Mfg., Inc., 891 F. Supp. 2d 941, 944 (N.D. Ill. 2012); Patrick v. City of Chicago, 103 F. Supp. 3d

907, 911-12 (N.D. Ill. 2015). There has been a “manifest legal error” here because the incorrect




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standard for workers’ compensation exclusivity under Oklahoma law was applied to Plaintiff

Rosengren.

       5.      For these reasons, and as more fully set forth in the Memorandum in Support, this

Court should grant American’s motion for reconsideration and revise its dismissal order to hold

that Rosengren’s claims may not proceed because they are barred by workers’ compensation

exclusivity under Oklahoma law.

       WHEREFORE, for the foregoing reasons, American respectfully requests that the Court

issue an order granting its Motion for Reconsideration and revising its April 22 dismissal order

to reflect that Oklahoma utilizes the specific intent to injure standard and, therefore, to conclude

that Oklahoma Plaintiff Rosengren’s claims are covered by workers’ compensation exclusivity

because he has not alleged that American specifically intended to injure him.



Dated: April 30, 2020                         Respectfully submitted,

                                                 By:     /s/ Mark W. Robertson

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                                    CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that, on this 30th day of April, 2020, copies of the

foregoing document and all exhibits thereto were filed with the Clerk of the Court through the

CM/ECF system, which will send notification of such filing to all counsel of record at the email

addresses on file with the Court.




                                                 By:   /s/ Mark W. Robertson
                                                            Mark W. Robertson




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